                                        Case 2:20-cv-02324-APG-VCF Document 133 Filed 09/08/21 Page 1 of 19




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                                    9                                  UNITED STATES DISTRICT COURT
                                   10                                             DISTRICT OF NEVADA

                                   11                                                    ***
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                                          GABRIELLE CLARK; and WILLIAM                          CASE NO. 2:20-cv-02324-APG-VCF
                                   12     CLARK,
                ATTORNEYS AT LAW




                                   13                               Plaintiffs,                 MOTION FOR LEAVE TO FILE
                                                                                                NOTICE OF SUPPLEMENTAL
                                   14             vs.                                           AUTHORITY IN SUPPORT OF
                                                                                                RESPONSE TO DEMOCRACY
                                   15     DEMOCRACY PREP PUBLIC SCHOOLS,                        PREP DEFENDANTS’ MOTION TO
                                          Inc.; and DEMOCRACY PREP NEVADA                       DISMISS
                                   16     LLC; and DEMOCRACY PREP AGASSI
                                          CAMPUS; and NATASHA TRIVERS, in her
                                   17     capacity as CEO of Democracy Prep Public
                                          Schools, Inc.; and KIMBERLY WALL, in her
                                   18     capacity as assistant superintendent of
                                          Democracy Prep Public Schools, Inc.; and
                                   19     ADAM JOHNSON, in his capacity as executive
                                          director of Democracy Prep Agassi Campus;
                                   20     and KATHRYN BASS, in her capacity as a
                                          teacher at Democracy Prep Agassi Campus; and
                                   21     JOSEPH MORGAN, in his capacity as
                                          president of Democracy Prep Agassi Campus;
                                   22     and REBECCA FEINEN, in her capacity as the
                                          Executive Director of the State Public Charter
                                   23     School Authority; and MELISSA MACKEDON
                                          (chair), RANDY KIRNER (vice chair),
                                   24     SHELIA MOULTON, SAMI RANDOLPH,
                                          MALLORY CYR, TONIA HOLMES-
                                   25     SUTTON, DON SOIFER, TAMIKA
                                          SHAUNTEE ROSALES, LEE FARRIS, in their
                                   26     capacities as members of the State Public
                                          Charter School Authority
                                   27
                                                                    Defendants.
                                   28
                                        Case 2:20-cv-02324-APG-VCF Document 133 Filed 09/08/21 Page 2 of 19




                                    1           Pursuant to LR 7-2(g), Plaintiffs Gabrielle Clark and William Clark (collectively,

                                    2    “Plaintiffs”) move for leave of Court to file a notice of supplemental authority regarding the

                                    3    Arkansas Attorney General’s recent Opinion No. 2021-042 (Aug. 16, 2021). See https://ag-

                                    4    opinions.s3.amazonaws.com/uploads/2021-042.pdf (last accessed September 8, 2021). Good

                                    5    cause exists to file such notice because this opinion was issued over a month after Plaintiffs’

                                    6    Opposition to Democracy Prep Defendants’ Motion to Dismiss [ECF No. 118] (“Opposition”),

                                    7    which was filed on July 2, 2021. As explained in detail in the proposed notice, this opinion is

                                    8    relevant authority on several critical issues. Finally, Defendants will face no prejudice because

                                    9    they can respond to this authority. Therefore, the Court should allow Plaintiffs to file the Notice
                                   10    of Supplemental Authority in Support of Response to Democracy Prep Defendants’ Motion to

                                   11    Dismiss attached hereto as Exhibit A.
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                                   12           DATED this 8th day of September, 2021.
                ATTORNEYS AT LAW




                                   13                                                     LITIGATOR LAW

                                   14
                                                                                      By /s/ William D. Schuller, Esq.
                                   15                                                    ALAN J. LEFEBVRE, ESQ.
                                                                                         Nevada Bar No. 000848
                                   16                                                    WILLIAM D. SCHULLER, ESQ.
                                                                                         Nevada Bar No. 011271
                                   17                                                    11830 Tevare Lane #1062
                                                                                         Las Vegas, Nevada 89138
                                   18
                                                                                          Attorneys for Plaintiffs
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                                        Case 2:20-cv-02324-APG-VCF Document 133 Filed 09/08/21 Page 3 of 19




                                    1                                   CERTIFICATE OF SERVICE
                                    2           Pursuant to FRCP 5, LR IC4-1, and LR 5-1, I hereby certify that I am an employee of

                                    3    Litigator Law, and that on the 8th day of September 2021, I caused to be served a true and correct

                                    4    copy   of   the   foregoing   MOTION FOR LEAVE TO FILE                            NOTICE OF
                                    5    SUPPLEMENTAL             AUTHORITY            IN       SUPPORT        OF     RESPONSE         TO
                                    6    DEMOCRACY PREP DEFENDANTS’ MOTION TO DISMISS in the following
                                    7    manner:

                                    8           The Court’s Electronic Filing System to all parties on the current service list.

                                    9
                                   10                                                     /s/ William D. Schuller, Esq.
                                                                                          An Employee of LITIGATOR LAW
                                   11
Litigator Law




                                   12
                ATTORNEYS AT LAW




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Case 2:20-cv-02324-APG-VCF Document 133 Filed 09/08/21 Page 4 of 19




Exhibit A – (Proposed) Notice of Supplemental Authority in Support of
    Response to Democracy Prep Defendants’ Motion to Dismiss
                                        Case 2:20-cv-02324-APG-VCF Document 133 Filed 09/08/21 Page 5 of 19




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                                    7    Attorneys for Plaintiffs
                                    8

                                    9                                  UNITED STATES DISTRICT COURT
                                   10                                             DISTRICT OF NEVADA

                                   11                                                    ***
Litigator Law




                                          GABRIELLE CLARK; and WILLIAM                               CASE NO. 2:20-cv-02324-APG-VCF
                                   12     CLARK,
                ATTORNEYS AT LAW




                                   13                               Plaintiffs,                      NOTICE OF SUPPLEMENTAL
                                                                                                     AUTHORITY IN SUPPORT OF
                                   14             vs.                                                RESPONSE TO DEMOCRACY
                                                                                                     PREP DEFENDANTS’ MOTION TO
                                   15     DEMOCRACY PREP PUBLIC SCHOOLS,                             DISMISS
                                          Inc.; and DEMOCRACY PREP NEVADA
                                   16     LLC; and DEMOCRACY PREP AGASSI
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                                   22     and REBECCA FEINEN, in her capacity as the
                                          Executive Director of the State Public Charter
                                   23     School Authority; and MELISSA MACKEDON
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                                   25     SUTTON, DON SOIFER, TAMIKA
                                          SHAUNTEE ROSALES, LEE FARRIS, in their
                                   26     capacities as members of the State Public
                                          Charter School Authority
                                   27
                                                                    Defendants.
                                   28

                                         13028                                         Page 1 of 4
                                        Case 2:20-cv-02324-APG-VCF Document 133 Filed 09/08/21 Page 6 of 19




                                    1              In a recent opinion that examined critical race theory, the Arkansas Attorney General

                                    2    concluded that “[a]ny effort to take account of race in a way that…creates a hostile environment

                                    3    in an educational institution is almost certainly unlawful under the Equal Protection Clause and

                                    4    Title VI.” See Op. No. 2021-042, at p. 7 (Aug. 16, 2021), a true and correct copy of which is

                                    5    attached hereto as Exhibit A. Indeed, “any form of racial stereotyping or scapegoating” is likely

                                    6    to violate these provisions, including “curricula, instruction, or other programs or activities that

                                    7    communicate,” inter alia:

                                    8          •   that an individual, simply by virtue of race, is oppressive or oppressed, privileged or

                                    9              victimized, whether consciously or unconsciously;
                                   10          •   that an individual, simply by virtue of race, should feel discomfort, resentment, guilt, or

                                   11              distress; and
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                                   12          •   that an individual’s moral character, standing, status, or worth depends on one’s race.
                ATTORNEYS AT LAW




                                   13    Id. at pp. 7-8. Like the Montana Attorney General, the Arkansas Attorney General found that “[i]n

                                   14    many instances, instituting pedagogical practices based on critical race theory, ‘antiracism,'’ or

                                   15    associated ideas will violate the law.” Id. at p. 8; see ECF No. 118, at pp. 15-16.

                                   16              Both the Montana and Arkansas opinions squarely support Plaintiffs’ Equal Protection and

                                   17    hostile education environment claims.        In this Court’s words, Plaintiffs’ claim is “that the

                                   18    Sociology of Change course materials promote racist attitudes or indoctrinate the principles that

                                   19    white males are oppressors, wrong, or unjust.” See ECF No. 62, at p. 54. The course labeled

                                   20    certain students as oppressors and assigned privilege points. This hostile environment persisted

                                   21    over a substantial period of time as part of the established curriculum with official ratification.

                                   22    When Plaintiff William Clark refused to be subjected to these hostile assignments, Defendants

                                   23    retaliated, making his graduation contingent on his continued participation. As these Attorney

                                   24    General opinions recognize, this conduct violates both Equal Protection and Title VI.

                                   25    ///

                                   26    ///

                                   27    ///

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                                         13028                                          Page 2 of 4
                                        Case 2:20-cv-02324-APG-VCF Document 133 Filed 09/08/21 Page 7 of 19




                                    1            The Arkansas Attorney General’s opinion rejects the Defendants’ counterargument that

                                    2    “anything goes” in a school classroom. Neither the First Amendment nor any other provision

                                    3    “immunize[s] a person or educational institution from violating others’ rights under Title VI [or]

                                    4    the Equal Protection Clause.” See Op. No. 2021-042, at p. 9.

                                    5            DATED this ____ day of September, 2021.

                                    6                                                     LITIGATOR LAW

                                    7
                                                                                      By _________________________
                                    8                                                    ALAN J. LEFEBVRE, ESQ.
                                                                                         Nevada Bar No. 000848
                                    9                                                    WILLIAM D. SCHULLER, ESQ.
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                                                                                          Attorneys for Plaintiffs. GABRIELLE
                                   12                                                     CLARK and WILLIAM CLARK
                ATTORNEYS AT LAW




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                                         13028                                       Page 3 of 4
                                        Case 2:20-cv-02324-APG-VCF Document 133 Filed 09/08/21 Page 8 of 19




                                    1                                    CERTIFICATE OF SERVICE
                                    2            Pursuant to FRCP 5, LR IC4-1, and LR 5-1, I hereby certify that I am an employee of

                                    3    Litigator Law, and that on the ____ day of September 2021, I caused to be served a true and correct

                                    4    copy of the foregoing NOTICE OF SUPPLEMENTAL AUTHORITY IN SUPPORT

                                    5    OF RESPONSE TO DEMOCRACY PREP DEFENDANTS’ MOTION TO DISMISS
                                    6    in the following manner:

                                    7            The Court’s Electronic Filing System to all parties on the current service list.

                                    8

                                    9
                                                                                           An Employee of LITIGATOR LAW
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                ATTORNEYS AT LAW




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                                         13028                                        Page 4 of 4
Case 2:20-cv-02324-APG-VCF Document 133 Filed 09/08/21 Page 9 of 19




                 Exhibit A
  Case 2:20-cv-02324-APG-VCF Document 133 Filed 09/08/21 Page 10 of 19




                                     STAT E OF ARKAN SAS
                                     ATTO RN EY GEN ERAL
                                      LES LI E RU T LEDGE

Opinion No. 2021-042

August 16, 2021

The Honorable Mark Lowery
State Representative
229 Summit Valley Circle
Maumelle, AR 72113-5934

Dear Representative Lowery:

This letter is in response to your request for an opinion regarding the legality of
introducing critical race theory and professed "antiracism" in Arkansas public
schools and universities. In this regard, you have asked the following question:

       Does the introduction of practices based on "antiracism" and critical
       race theory in Arkansas public schools and universities violate Title
       VI of the Civil Rights Act of 1964, the Equal Protection Clause of the
       Fourteenth Amendment, Article II of the Arkansas Constitution, or
       other applicable nondiscrimination laws?

RESPONSE

The answer to your question is yes. With certain qualifications set forth below,
instituting practices based on critical race theory, professed "antiracism," or
associated ideas can violate Title VI, the Equal Protection Clause, and Article II of
the Arkansas Constitution.

DISCUSSION

Question 1: Does tlte introduction of practices based on "antiracism" and
critical race theory in Arkansas public schools and universities violate Title VI of
the Civil Rights Act of 1964, the Equal Protection Clause of the Fourteenth
Amendment, Article II of the Arkansas Constitution, or other applicable
nondiscrimination laws?

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                          TELEP HONE (501) 682-200 7 · FAX (5 01) 682-8084
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     Case 2:20-cv-02324-APG-VCF Document 133 Filed 09/08/21 Page 11 of 19
The Honorable Mark Lowery
State Representative
Opinion No. 2021-042
Page 2



           a. Critical Race Theory, "Antiracism," and Associated Ideas

Critical race theory emerged at the end of the twentieth century as a radical approach
to the study of law with a focus on racial inequalities and a conviction that racist
oppression is inherent to American society. 1 In a formative article, the intellectual
father of critical race theory, Derrick A. Bell, Jr., contended that racism is so
engrained in the institutions (social, political, and legal) of our Nation that even the
civil-rights triumph of Brown v. Board of Education was a mere consequence of a
temporary convergence of elite whites' material self-interest with the interests of
blacks. 2 According to contemporary advocates, "critical race theory questions the
very foundations of the liberal order, including equality theory, legal reasoning,
Enlightenment rationalism, and neutral principles of constitutional law." 3 Thus,
critical race theorists typically reject the civil-rights movement's ideal of a
"colorblind" society, contending that "[ o]nly aggressive, color-conscious efforts"
can effectively address what they conceive as American society's endemic racist
oppression. 4

In 1991, Kimber le Crenshaw introduced the idea of intersectionality, 5 which
theorizes that a full account must be taken of the converging categories (race, sex,
class, etc.) to which one belongs in order to adequately understand how a person
experiences privilege or oppression. 6 In succeeding decades, others have advocated
ideas that draw inspiration from Bell, Crenshaw, and other critical race theorists.
This includes lbram X. Kendi's professed "antiracism," which rejects the very
possibility of race-neutral policies and expressly maintains that the only remedy to
past and present racial discrimination is present and future racial discrimination. 7
The U.S. Department of Education approvingly cited Kendi in a recent proposed

1
 Critical race theory is not a stable, monolithic movement, and everything to which that label is
applied cannot be captured in this opinion.
2
 Derrick A. Bell, Jr., Brown v. Board of Education and the Interest-Convergence Dilemma, 93
Harv. L. Rev. 518, 523 (1980).
3
    Richard Delgado and Jean Stefancic, Critical Race Theory: An Introduction 3 (3d. ed. 2017).
4
    Id. at 27.
5
  Kimberle Crenshaw, Mapping the Margins: lntersectionality, Identity Politics, and Violence
against Women of Color, 43 Stan. L. Rev. 1241 (1991).
6
    Delgado and Stefancic, supra, at 58.
7
    Ibram X. Kendi, How to Be an Antiracisl (2019).
     Case 2:20-cv-02324-APG-VCF Document 133 Filed 09/08/21 Page 12 of 19
The Honorable Mark Lowery
State Representative
Opinion No. 2021-042
Page 3



rule that establishes priorities for grants in American History and Civics Education. 8
The proposed rule also cited the much-criticized New York Times' 1619 Project 9
and the controversial resources of the Smithsonian's National Museum of African
American History. 10 The Museum's resources explain, in part, that "[b ]eing an
antiracist is much different from just being 'nonracist. "' 11 That is, "antiracism"
requires affirmative adherence to certain tenets depending on one's "racial identity"
as "white" or a "[person] of color":

        Being antiracist is different for white people than it is for people of
        color. For white people, being antiracist evolves with their racial
        identity development. They must acknowledge and understand their
        privilege, work to change their internalized racism, and interrupt
        racism when they see it. For people of color, it means recognizing




8
 Proposed Priorities-American History and Civics Education, 86 Fed. Reg. 20348, 20349 (April
19, 2021 ). The Depai1ment of Education subsequently issued a statement that the established
priorities are merely "invitational" and that applicants "gain no competitive advantage in the grant
competition for addressing" them. Miguel Cardona, American History and Civics in Our Schools,
Homeroom: The Official Blog of the U.S. Dep't of Education (July 16, 2021 ),
https ://b log.ed .gov/2021/07 I american-h istory-and-c iv ics-in-our-schoo ls/.
9
   86 Fed. Reg. at 20349. Among other criticisms of the 1619 Project, see Victoria Bynum, et al.,
Letter to the Editor re: The 1619 Project, in We Respond to the Historians Who Critiqued the 1619
Project, New York Times (updated Jan. 19, 2021 ), https://www.nytimes.com/2019
I 12/20/magazine/we-respond-to-the-historians-who-critiqued-the-1619-project.html.      See also
Peter W. Wood, 1620: A Critical Response to the 1619 Project (2020); Phillip W. Magness, The
1619 Project: A Critique (2020).
10
   86 Fed. Reg. at 20349. In 2020, the National Museum of African American History published
guidelines that included a graphic for "talking about race" that described "[t]he nuclear family,"
"[ o ]bjective, rational linear thinking," "hard work is the key to success," and ''delayed gratification"
(among others) as "white values." After controversy understandably erupted, the graphic was
removed from the Museum's website, but it remains archived online. See Some Aspects and
Assumptions of White Culture in the United States, Internet Archive (June I, 2020),
https://web.archive.org/web/20200601153458/https://nmaahc.si.edu/learn/talking-about-race/topi
cs/whiteness. The guidelines, which discuss "whiteness," "white privilege," "white fragility," and
other topics, remain on the Museum's website. See Whiteness, Smithsonian Nat'l Museum of
African Amer. Hist. & Culture, https://nmaahc.si.edu/learn/talking-about-race/topics/whiteness.
11
   Anneliese A. Singh, Racial Healing Handbook: Practical Activities to Help You Cha11enge
Privilege, Confront Systemic Racism, and Engage in Collective Healing, https://nmaahc.si.edu/
sites/default/files/downloads/resources/racialhealinghandbook_p87to94.pdf (reprinted excerpt).
     Case 2:20-cv-02324-APG-VCF Document 133 Filed 09/08/21 Page 13 of 19
The Honorable Mark Lowery
State Representative
Opinion No. 2021-042
Page 4



          how race and racism have been internalized, and whether it has been
          applied to other people of color. 12

Advocates assert that, "[t]oday, many scholars in the field of education consider
themselves critical race theorists who use CRT's ideas to understand issues of
school discipline and hierarchy, tracking, affirmative action, high-stakes testing,
controversies over curriculum and history, bilingual and multicultural education,
and alternative and charter schools." 13

          b. Title VI of the Civil Rights Act of 1964

        Title VI of the Civil Rights Act of 1964 14 and its implementing regulations 15
protect students who are enrolled in institutions receiving federal funding-
including Arkansas public schools and universities-from discrimination based on
race. 16 Accordingly, these educational institutions may not use race as a basis to:

      •   deny a benefit;
      •   provide a different benefit, or provide a benefit in a different manner;
      •   subject one to segregation or separate treatment in relation to a benefit;
      •   restrict the enjoyment of a benefit;
      •   treat one differently in determining whether any requirement or condition for
          a benefit is met; or
      •   deny one an opportunity to participate, or afford one an opportunity to
          participate that is different. 17



12
    Being Antiracist, Smithsonian Nat'I Museum of African Amer.              Hist.   &   Culture,
https://nmaahc.si.edu/learn/talking-about-race/topics/being-antiracist.
13
     Delgado and Stefancic, supra, at 7.
14
     42 U.S.C. 2000d et seq.
15
     34 C.F.R. 100.1 et seq.
16
  The term "race" is used herein to refer to all forms of discrimination prohibited by Title VI,
including race, color, and national origin. See 42 U.S.C. 2000d.
17
     34 C.F.R. 100.3(b)(l)(i)-(vii).
     Case 2:20-cv-02324-APG-VCF Document 133 Filed 09/08/21 Page 14 of 19
The Honorable Mark Lowery
State Representative
Opinion No. 2021-042
Page 5




Additionally, "discrimination that violates the Equal Protection Clause of the
Fourteenth Amendment committed by an institution that accepts federal funds also
constitutes a violation of Title VI." 18

The Department of Education further recognizes that "[t]he type of environment that
is tolerated or encouraged by or at school can ... send a particularly strong signal
to, and serve as an influential lesson for, its students." 19 Therefore, since 1994, it
has interpreted Title VI as prohibiting educational institutions from subjecting
students to a racially hostile environment. 20 That includes any race-based
harassment that is sufficiently severe, pervasive, or persistent as to interfere with
one's participation in or benefit from services, activities, or privileges that an
educational institution provides. 21 Such harassment "need not be targeted" at any
particular person and "need not result in tangible injury or detriment to the victims"
to create a racially hostile environment. 22

           c. Federal and State Equal Protection Provisions

The Arkansas Constitution provides that "[t]he equality of all persons before the law
is recognized, and shall ever remain inviolate; nor shall any citizen ever be deprived
of any right, privilege or immunity; nor exempted from any burden or duty, on
account of race, color or previous condition." 23 Further, it provides that "the State
... shall adopt all suitable means to secure to the people the advantages and
opportunities of education." 24 Applying constitutional provisions concerning equal
treatment, the Arkansas Supreme Court has said that "[ e]quality of educational
opportunity must include . . . substantially equal curricula . . . for obtaining an



18
     Gratz v. Bollinger, 539 U.S. 244, 276 n.23 (2003).
19
  Racial Incidents and Harassment against Students at Educational Institutions; Investigative
Guidance, 59 Fed. Reg. 11448, 11449 (March 10, 1994 ).

20   Id.

21   Id.

22
     Id. at 11449-50.
23
  Ark. Const. art. 2, § 3; see id. §§ 2, 18. Additionally, the Arkansas Civil Rights Act recognizes
the "civil right" to "be free from discrimination because of race." Ark. Code Ann. § 16-123-107(a).

24
     Ark. Const. art. 14, § 1.
     Case 2:20-cv-02324-APG-VCF Document 133 Filed 09/08/21 Page 15 of 19
The Honorable Mark Lowery
State Representative
Opinion No. 2021-042
Page 6



adequate education." 25 The Arkansas Supreme Court has traditionally interpreted
Arkansas's constitutional provisions bearing on equal protection consistently with
federal courts' interpretation of the federal Equal Protection Clause. 26

Associate Justice John Marshall Harlan famously dissented in Plessy v. Ferguson,
declaring what the full Court would in time come to recognize: that the federal
Constitution "is color-blind, and neither knows nor tolerates classes among citizens.
In respect of civil rights, all citizens are equal before the law." 27 Indeed, section one
of the Fourteenth Amendment provides in part that "[n]o State shall ... deny to any
person within its jurisdiction the equal protection of the laws." The "central
purpose" of that provision "is to prevent the States from purposefully discriminating
between individuals on the basis of race." 28 "Classifications of citizens solely on
the basis of race ... threaten to stigmatize individuals by reason of their membership
in a racial group and to incite racial hostility." 29 Therefore, any State action that
distinguishes based on race is "presumptively invalid," 30 and "the Equal Protection
Clause demands that [it] ... be subjected to the 'most rigid scrutiny."' 31

"[R]acial 'classifications are constitutional only if they are narrowly tailored to
further compelling governmental interests. "' 32 The Supreme Court has recognized
only two compelling interests that could justify racial distinctions in the school



25
     Lake View Sch. Dist. No. 25 of Phillips Cty. v. Huckabee, 351 Ark. 31, 79 (2004).
26
     See Maiden v. State, 2014 Ark. 294, at 17 (2014).
27
     Plessy v. Ferguson, 163 U.S. 537, 559 (1896) (Harlan, J., dissenting).
28
     Shaw v. Reno, 509 U.S. 630, 642 (1993).
29
   Id. at 643; see Adarand Constructors, Inc. v. Pena, 515 U.S. 200, 240 (1995) (Thomas, J.,
concurring in part and concurring in the judgment) ("Purchased at the price of immeasurable human
suffering, the equal protection principle reflects our Nation's understanding that such classifications
ultimately have a destructive impact on the individual and our society."); see also League of United
Latin Am. Citizens v. Perry, 548 U.S. 399, 511 (2006) (Robe11s, C.J ., concurring in part, concurring
in the judgment, and dissenting in pai1) ("It is a sordid business, this divvying us up by race.").
30
     Shaw, 509 U.S. at 643 (quoting Pers. Adm 'r of Mass. v. Feeney, 442 U.S. 256, 272 ( 1979)).
31
   Fisher v. Univ. of Texas, 570 U.S. 297, 310 (2013) (quoting Loving v. Virginia, 388 U.S. I, 11
( 1967)).
32
     Id. (quoting Grutter v. Bollinger, 539 U.S. 306, 326 (2003).
     Case 2:20-cv-02324-APG-VCF Document 133 Filed 09/08/21 Page 16 of 19
The Honorable Mark Lowery
State Representative
Opinion No. 2021-042
Page 7



context. 33 These include "remedying the effects of past intentional discrimination"
and creating "student body diversity" in higher education. 34 Any State that
undertook race-based remedial measures would bear the burden to both 1) show "a
strong basis in evidence for its conclusion that remedial action was necessary," 35
and 2) "tailor remedial relief to those who truly have suffered the effects of prior
discrimination." 36 "Societal discrimination alone" cannot justify race-based
remedial efforts. 37

           d. Analysis

Any effort to take account of race in a way that differently accords benefits or
opportunities or creates a hostile environment in an educational institution is almost
certainly unlawful under the Equal Protection Clause and Title VI. This includes
overt racial segregation or other discrimination, however well intended, 38 as well as
any form of racial stereotyping or scapegoating. 39 A racially hostile environment
could also be created through curricula, instruction, or other programs or activities
that communicate the following ideas: 40




33
     Parents Involved in Cmty. Sch. v. Seattle Sch. Dist. No. 1, 551 U.S. 70 I, 721-22 (2007).

34   Id.
35
  City of Richmond v. JA. Croson Co., 488 U.S. 469, 510 ( 1989) (quoting Wygant v. Jackson Bd.
of Educ., 476 U.S. 267, 277 (1986)).
36
     Id. at 508.
37
  Id at 505; see id at 499 ("[A]n amorphous claim that there has been past discrimination in a
particular industry cannot justify" present racial discrimination.).
38
  See Parents Involved, 551 U.S. at 743 (plurality) ("Simply because the school districts may seek
a wo11hy goal does not mean they are free to discriminate on the basis of race to achieve it, or that
their racial classifications should be subject to less exacting scrutiny."); id at 748 (plurality) ("The
way to stop discrimination on the basis of race is to stop discriminating on the basis of race.").
39
  See 58 Mont. Att'y Gen. Op. No. I, at 19-21 (May 27, 2021) (discussing the unlawfulness of
racial segregation, stereotyping, and scapegoating).
40
  See 59 Fed. Reg. at 11453 (citing Gilbert v. City of Little Rock, Ark., 722 F .2d 1390, 1394 (8th
Cir. 1983) (environment "which significantly and adversely affects the psychological well-being
of an employee because of his or her race" violates Title VII)).
     Case 2:20-cv-02324-APG-VCF Document 133 Filed 09/08/21 Page 17 of 19
The Honorable Mark Lowery
State Representative
Opinion No. 2021-042
Page 8




      •   that an individual, by virtue of race, deserves praise or criticism for taking or
          failing to take some action or stand, or for supporting, opposing, or failing to
          support or oppose some cause;
      •   that certain character traits or beliefs are proper to individuals of some races
          but not others;
      •   that an individual, simply by virtue of race, is oppressive or oppressed,
          privileged or victimized, whether consciously or unconsciously;
      •   that an individual, simply by virtue of race, should feel discomfort,
          resentment, guilt, or distress;
      •   that an individual's moral character, standing, status, or worth depends on
          one's race;
      •   that an individual is personally accountable for actions committed in the past
          by other individuals of the same race; or
      •   that an individual, simply by virtue of race, should be discriminated against
          or adversely treated. 41

The existence of a racially hostile environment "must be determined from the
totality of the circumstances." 42 In many instances, instituting pedagogical practices
based on critical race theory, "antiracism,'' or associated ideas will violate the law.

But it is important to note that the unlawfulness of such practices does not preclude
teaching the history of racial injustice or our Nation's longstanding and continuing
efforts to realize what Dr. Martin Luther King, Jr. recognized as the dream expressed
in our founding creed: We hold these truths to be self-evident, that all men are
created equal. 43 Thus, the law does not prohibit teaching about the history of
slavery, Jim Crow laws, the eugenics movement, and the Ku Klux Klan. Nor does
it prohibit teaching about the Constitution and the abolition of the slave trade, the
abolitionist movement, the Civil War, Abraham Lincoln and the Emancipation

41
  At least eight states have enacted legislation prohibiting training or instruction promoting these
or related ideas, with 20 more states considering similar legislation. Rashawn Ray and Alexandria
Gibbons, Why are States Banning Critical Race Theory, The Brookings Institution (July 2021 ),
https://www.brookings.edu/blog/fixgov/2021 /07 /02/why-are-states-bann ing-critical-race-theory/.
42
     59 Fed. Reg. at 11449.
43
     Dr. Martin Luther King, Jr., I Have A Dream (Aug. 28, 1963), transcript and audio available at
"I Have A Dream" Speech, In Its Entirety, National Public Radio, https://www.npr.org/2010/01/
18/122701268/i-have-a-dream-speech-in-its-entirety.
     Case 2:20-cv-02324-APG-VCF Document 133 Filed 09/08/21 Page 18 of 19
The Honorable Mark Lowery
State Representative
Opinion No. 2021-042
Page 9



Proclamation, the Civil War Amendments, and the civil-rights movement. These
are indispensable topics for history and civics education.

Critical race theory and "antiracism," as recent developments, have very little to do
with this history. That said, there may be some legitimate pedagogical uses of these
ideas in the university setting. At a high level, for example, greater clarity might be
gained by contrasting the civil-rights movement's grounding in the Founders'
classically liberal vision of individual natural rights 44 with critical race theory's
grounding in a broadly socialist vision of conflict based on group interest and
identity. 45 Further, because a theory need not be accepted as an integrated whole, it
is possible that critical race theory could generate discrete insights that may be
useful for certain limited purposes.

The Supreme Court has recognized that "the classroom is peculiarly the
'marketplace of ideas,"' and "wide exposure to that robust exchange of ideas" is
ideal. 46 Therefore, "[ o]ur Nation is deeply committed to safeguarding academic
freedom, which is of transcendent value to all of us and not merely to the teachers
concerned." 47 At the same time, statements that public employees make pursuant
to their official duties are not protected by the First Amendment. 48 And although
the First Amendment protects the right "to receive information and ideas," 49 that
right is restricted in the case of children. 50

Consequently, although the First Amendment protects individual expression, it does
not immunize a person or educational institution from violating others' rights under
Title VI, the Equal Protection Clause, or the Arkansas Constitution by engaging in
prohibited race-based practices. For these reasons, and with the qualifications set
forth above, instituting practices based on critical race theory, professed
44
  See, e.g., Dr. Martin Luther King, Jr., Letter From Birmingham Jail (reprint by the Maitin Luther
King, Jr. Anniversary Committee, licensed by the King Center).
45
     See generally Delgado and Stefancic, supra.
46
  Keyishian v. Bd. of Regents of Univ. of State ofN. Y., 385 U.S. 589, 603 (1967) (quoting United
States v. Associated Press, 52 F. Supp. 362, 372 (1945)).

47   Id.

48
     Garcetti v. Ceballos, 54 7 U.S. 410, 421 (2006).
49
     Stanley v. Georgia, 394 U.S. 557, 564 (1969).
50
     See, e.g., Ginsberg v. State ofN.Y., 390 U.S. 629, 645 (1968).
  Case 2:20-cv-02324-APG-VCF Document 133 Filed 09/08/21 Page 19 of 19
The Honorable Mark Lowery
State Representative
Opinion No. 2021-042
Page I 0



"antiracism," or associated ideas can violate Title VI, the Equal Protection Clause,
and Article II of the Arkansas Constitution.

Sincerely,

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LESLIE RUTLEDGE
Attorney General
